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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                                    Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC, et                                    Case No. 17-12560 (JKS)
al.,1
                                                                          (Jointly Administered)
                          Remaining Debtors.
                                                                          Ref. Docket No. 4746


                                        AFFIDAVIT OF SERVICE

STATE OF OHIO                      )
                                   ) ss.:
COUNTY OF FRANKLIN                 )

ANGELA CHACHOFF, being duly sworn, deposes and says:

1. I am employed as a Case Manager by Epiq Class Action & Claims Solutions, Inc., located at
   5151 Blazer Parkway, Suite A, Dublin, Ohio 43017. I am over the age of eighteen years and
   am not a party to the above-captioned action.

2. On March 15, 2022, I caused to be served the “Twelfth Order, Pursuant to Bankruptcy Rules
   9006 and 9027, Further Extending the Period Within Which the Liquidation Trust and its
   Subsidiaries May Remove Actions Pursuant to 28 U.S.C. § 1452,” dated March 15, 2022
   [Docket No. 4746], by causing a true and correct copy to be:

         a. enclosed securely in a postage pre-paid envelope and delivered via first class mail to
            the party listed on the annexed Exhibit A, and

         b. delivered via electronic mail to those parties listed on the annexed Exhibit B.




1        The Remaining Debtors and the last four digits of their respective federal tax identification number are as
         follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1,
         LLC (0172). The Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California
         91203.




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3. The envelope utilized in the service of the foregoing contained the following legend:
   LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”



                                                                  /s/ Angela Chachoff
                                                                  Angela Chachoff

  Sworn to before me this
  16th day of March, 2022
  /s/ Andrea R. Speelman
  Andrea R. Speelman
  Notary Public, State of Ohio
  Commission Expires March 21, 2024




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                    EXHIBIT A
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                    EXHIBIT B
                                                                                        Case 17-12560-JKS                   Doc 4750        Filed 03/21/22   Page 6 of 6

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